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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No.



JANE DOE, a United States resident and citizen,

                                                               Plaintiff,

v.

MARK ANTHONY YOUNG, a United Kingdom citizen,
CAROL AALIYAH MUHAMMAD, a United Kingdom citizen, and
ELITE AB CLINIC, Ltd., a United Kingdom corporation,

                                                              Defendants.


                             COMPLAINT AND JURY TRIAL DEMAND


         Plaintiff Jane Doe, by and through her counsel of record, pursuant to F.R.C.P. 3, 7(a) and

8(a) of the Federal Rules of Civil Procedure, commences this action by filing this Complaint

against Defendants Elite AB Clinic, Ltd., and its owners, Mark Anthony Young and Carol Aaliyah

Muhammad, and states and alleges as follows:


                                             PARTIES

1.       Ms. Doe is an individual and a United States (“U.S.”) citizen domiciled in the State of

Colorado.

2.       Defendant Elite AB Clinic, Ltd., is a corporation with its principal place of business in

the United Kingdom (“Elite AB Clinic”), at 71-75 Shelton Street, Covent Garden, London,

United Kingdom, WC2H 9JQ.


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3.       Based on information and belief, Defendants Mark Anthony Young and Carol Aaliyah

Muhammad are United Kingdom citizens. Public records list both Mr. Young and Ms.

Muhammad as the directors and owners of Elite AB Clinic.


                                  JURISDICTION AND VENUE

4.       This Court may exercise subject matter jurisdiction over the claims set forth in this

Complaint because “the matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs, and is between . . . citizens of a State and citizens or subjects of a foreign

state.” 28 U.S.C. § 1332(a)(2). This matter also involves violations of federal law, specifically

the Copyright Act (17 U.S.C. §§ 101 et. seq.).

5.       Venue in this Court is proper because, “if there is no district in which an action may

otherwise be brought as provided in this section, [the action may be brought in] any judicial

district in which any defendant is subject to the court’s personal jurisdiction with respect to such

action.” 28 U.S.C. § 1391(b)(3).

6.       28 U.S.C. § 1391(c)(2) also provides for venue in the underlying litigation because “an

entity with the capacity to sue and be sued in its common name under applicable law, whether or

not incorporated, shall be deemed to reside, if a defendant, in any judicial district in which such

defendant is subject to the court’s personal jurisdiction with respect to the civil action in

question.”

7.       This Court may exercise personal jurisdiction consistent with the Constitution of the

United States over the Defendants as they purposefully targeted American companies,

individuals, consumers and the intellectual property of American citizens. See Lang Van, Inc., v.

VNG Corporation, No. 19-56452 (9th Cir. 2022).

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8.       Personal jurisdiction may also be established pursuant to Fed. R. Civ. P. 4(k)(2), which

states: “ Federal Claim Outside State Court jurisdiction. For a claim that arises under federal

law, serving a summons or filing a waiver of service establishes personal jurisdiction over a

defendant if: (A) the defendant is not subject to jurisdiction in any state’s courts of general

jurisdiction; and (B) exercising jurisdiction is consistent with the United States Constitution and

laws.”

                                    STATEMENT OF FACTS

9.     Elite AB Clinic is a registered corporation in the United Kingdom per the Companies

House website, owned and operated by the United Kingdom government.

10.    Mr. Young and Ms. Muhammad are both listed on the company’s official government

registration documents as its directors.

11.    Elite AB Clinic represents online that it is in the process of opening a clinic in the United

States per its Facebook Page for the proposed clinic, as well as other social media.

12.    The Elite AB Clinic Facebook page for the proposed clinic in the United States (“US Elite

AB Clinic Facebook”) is located at https://www.facebook.com/groups/244894807207052/.

13.    The About Section for the US Elite AB Clinic Facebook page as of July 10, 2023, reads as

follows:

         “We hope to open a Clinic in the USA in 2023 and are actively seeking a
         Investor. The Clinic will have more than one Therapist/Counsellor available as
         there are many reason, we do the ABDL. On the weekend the Nanny would take
         care of all your needs, and these would be discussed before you visit so we can
         give you the care you want. Each Nursery will have a cot and Highchair with a
         changing table and a large sofa with soft toys and a Large TV for Cartoons or
         Videos. Over the weekend the therapist will give you 6 sessions of therapy, and
         this of course will be between you and the Therapist. We will also have a sand pit
         and a small play area in the Garden, which is not overlooked, There will also be a
         room if the AB wants to bring a partner or Carer with them for the experience.
         The Format of the Visit is very open as it’s a Bespoke service and I want to make
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       it available to as many as possible.”

See Exhibit 1 (attached).

14.   Per a February 3, 2023, public post on the Elite AB Clinic Europe Twitter account, Mr.

Young is currently building a clinic in Ohio. See Exhibit 2 (attached).

15.   The Defendants have also held out to the public that Elite AB Clinic is in the process of

opening a clinic in the United Kingdom.

16.   The Elite AB Clinic Facebook page for the proposed clinic in the United Kingdom is

located online at https://www.facebook.com/groups/379083935773913.

17.   Mr. Young is an administrator for both the US Elite AB Clinic Facebook Page and the UK

Elite AB Clinic Facebook Page. See Exhibit 1 and 3 (attached).

18.   Elite AB Clinic and Mr. Young have come under public scrutiny in recent years for

allegedly engaging in a scam to take money from individuals who believe they are investing in a

clinic to provide mental health services to a niche community with childhood trauma, only to

discover that the representations on which they relied were false, including but not limited to the

status of construction, and affiliated medical professionals. See Exhibit 4 (attached).

19.   In 2023, Dr. Rhoda Lipscomb issued a public statement (“Dr. Lipscomb Public Statement”)

on her website about Elite AB Clinic and Mr. Young’s apparently fraudulent behavior and

ongoing scheme to take money from investors who believe they are funding an actual clinic,

including representing to third-parties that Dr. Lipscomb was involved with the clinic when she

was not in reality.

20.   The Dr. Lipscomb Public Statement is located at https://thediaperdoctor.com/statement-

regarding-elite-ab-clinic-and-mark-young/.

21.   Ms. Doe holds intellectual property rights in her professional photos associated with her
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business and industry persona, Goddess Kat Marie.

22.     Ms. Doe operates under her fictitious persona of “Goddess Kat Marie” as a sex industry

professional, including but not limited to high-end online erotic modeling (often fully-clothed),

performance art via suspension devices and roleplaying, and holding private, VIP, screened

theme parties.

23.     Ms. Doe has taken steps, as many individuals do in this industry, to protect herself from

harassment and retaliation for her participation, including keeping many of her professional

images behind a privacy or pay-wall.

24.     Ms. Doe previously operated a private Tumblr account on which she posted selections of

her professional images.

25.     Many of these pictures were taken without authorization from behind a privacy wall and

reposted on Tumbex.com.

26.     Prior to April 28, 2023, Ms. Doe learned that Mr. Young was posting her professional

images on social media accounts for Elite AB Clinic without her permission, authorization, or

consent.

27.     Ms. Doe contacted Mr. Young through Twitter and demanded that he stop posting her

professional images on Twitter, explicitly stating she holds the intellectual property rights to

them.

28.     Mr. Young initially agreed to cease posting Ms. Doe’s professional images and took them

down, but began to engage in the same misconduct again on or around April 28, 2023.

29.     Ms. Doe at no time has been affiliated with Elite AB Clinic.

30.     Ms. Doe has no desire to be affiliated with Elite AB Clinic, in part due to the fact that Elite

AB Clinic is believed by many people online to be a scam.
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31.   When Mr. Young would not stop posting Ms. Doe’s professional images, she began on or

around April 28, 2023, to post on social media that she is not affiliated with Elite AB Clinic and

that the company is using her professional images without her authorization, approval, or

consent.

32.   Ms. Doe publicly posted that she was not affiliated with Elite AB Clinic to mitigate her

own damages and clarify any consumer confusion.

33.   Ms. Doe tagged the Elite AB Clinic Twitter to put Mr. Young and his company on further

legal notice of her lack of consent to use her professional images, name or likeness.

34.   Although Mr. Young would state in same or similar terms that he was allowed to do so

under fair use in response to Ms. Doe, specifically that he was simply resharing pictures on

social media using the internal application tools, he both used images known to be unauthorized

and behind a privacy wall from Tumbex, as well as failing to credit Ms. Doe and removing her

own advertising language.

35.   In one example of many, Mr. Young posted a copyrighted image of Ms. Doe with the

following above the image “ another-chapter-of-the-mouse-and-the-

motorcyletumbex.com/goddesskatmari @Goddesskatmarie”. See Exhibit 5 (attached).

36.   The URL “another-chapter-of-the-mouse-and-the-motorcyletumbex.com/goddesskatmari”

does not actively link to any website or webpage.

37.   The Tumbex post Mr. Young claims to have simply reshared using internal application

tools includes the following original text from Ms. Doe’s Tumblr account:

       “Another Chapter of the Mouse and the Motorcycle tonight.... We are getting to
       the good parts Come join us every Monday for more of Mommy's favorite book
       during Monday’s with Mommy Kat
       https://www.instagram.com/p/Ci_sbD3jfAY6qyOU3N4kPvH9VWwn3mjRlITnG
       00/?igshid=NGJjMDIxMWI=”
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See Exhibit 6 (attached).

38.   Based on information and belief, Mr. Young removed all descriptive text accrediting the

work to Ms. Doe and the business event associated with the advertisement.

39.   Mr. Young also was on notice that the image in question from Tumbex.com was stolen and

being used without Ms. Doe’s authorization, permission or consent.

40.   On May 8, 2023, Mr. Young sent Ms. Doe a message from the Elite AB Clinic Europe

Twitter account (@AdultBabyGalaxy) which reads: “Hi I hope you are well.”

41.   Ms. Doe responded later that same day on May 8, 2023, with a clear message: “Stop

posting my trademarked images.” See Exhibit 7 (attached).

42.   On or around May 8, 2023, Ms. Doe filed takedown requests under the Digital Millennium

Copyright Act with Twitter against the Elite AB Clinic account.

43.   While initially successful, Twitter stopped the holds on the Elite AB Clinic account as Ms.

Doe had not taken any legal action yet against Mr. Young or his company.

44.   On or around May 19, 2023, Mr. Young in response to the DMCA takedown requests sent

Ms. Doe the following message through the Elite AB Clinic LTD Twitter account:

       “I do not want to Ruin your business. I ask that you stop tweeting about me and I
       will leave you alone. If not I will share your content with all Right wing sites and
       also law enforcement in the USA. I repeat please you have a thriving Business I
       don’t want to hurt it but you really need to stop. Thanks for your time Mark
       Young.”

See Exhibit 8 (attached).

45.   On or after May 19, 2023, Mr. Young using the Elite AB Clinic Twitter account began to

post Ms. Doe’s professional images from her Instagram page without her authorization,

permission, or consent.

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46.   On or around July 4, 2023, Mr. Young using the Elite AB Clinic Twitter account tagged

Ms. Doe’s Twitter account and wrote: “Because you endorse the two accounts [@Lars_Alister

and @notELITECLINIC] below, I take this as an okay to post your private pictures from your

paid accounts.”

47.   Mr. Young owns and runs a paid-Patreon account, on which he is believed to be

disseminating Ms. Doe’s professional images without her authorization, permission or approval

based on his statements in Paragraph 46.

48.   Elite AB Clinic represents that it advertises products and other business affiliates on its

website and social media.

49.   On May 31, 2023, the Elite AB Clinic Twitter posted the following: “Come and advertise

your Adult Baby Products with us at Elite AB Clinic LTD. Our Website is first on Google when

Adult Baby Nursery is searched. We are also fourth for ABDL Nursery. Email

adverts@eliteabclinic.com” See Exhibit 9 (attached).

50.   The Instagram page for Elite AB Clinic LTD (eliteabsnursery) explicitly states it has

“proud adult nappy ambassadors.”

51.   Based on information and belief, including Mr. Young’s representations and past behavior,

he and his company are profiting, or attempting to profit, off Ms. Doe’s name and likeness

without her authorization, permission, or approval, through use of her professional images and

private pictures from her paid accounts.

52.   Based on information and belief, consumers have confused Ms. Doe’s association with

Elite AB Clinic and that she is a “Proud Adult Nappy Ambassador” or otherwise affiliated with

the company.

53.   Ms. Doe has experienced severe emotional distress because of Mr. Young, including but
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not limited to lost sleep and anxiety for the future of her business being wrongfully affiliated

with Elite AB Clinic and its financial scheme, in addition to Mr. Young’s explicit threats to

subject her to online harassment by turning her into a target of “Right-Wing Media” if she does

not stop exercising her First Amendment rights and legal remedies.

54.   Mr. Young’s use of Ms. Doe’s professional images has created community confusion,

particularly as his social media represents having professional mommies, nannies and “nappy

ambassadors” under the mantle of Elite AB Clinic.


                                            COUNT I
                                  COPYRIGHT INFRINGEMENT
                                    (17 U.S.C. §§ 101 et. seq.)
55.     The Plaintiff reasserts and realleges all preceding paragraphs as if set forth in full below.

56.    Elite AB Clinic displays on its website and social media professional photographs taken

from Ms. Doe’s social media accounts to generate profits and revenues, including but not limited

to, per Defendant Young’s own admission, “private images from paid accounts.”

57.   The Copyright Act, under which Ms. Doe brings this suit, is intended “[t]o promote the

Progress of Science and useful Arts, ” U.S. Const. art. I, § 8, cl. 8, “by granting authors a limited

monopoly over (and thus the opportunity to profit from) the dissemination of their original works

of authorship. ” See Hunley v. Buzzfeed, Inc., 1:20-CV-08844-ALC (S.D.N.Y. Sep. 30, 2021)

(citing and quoting Authors Guild, Inc. v. HathiTrust, 755 F.3d 87, 95 (2d Cir. 2014)).

58.   Congress has provided for four nonexclusive factors that allow an exception to the rule

under the doctrine of fair use:

               “[T]he fair use of a copyrighted work . . . for purposes such as
               criticism, commentary, comment, news reporting, teaching
               (including multiple copies for classroom use), scholarship, or
               research, is not an infringement of copyright. In determining
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               whether the use made of a work . . . is a fair use, the facts to be
               considered shall include-

               (1) the purpose and character of the use, including whether such
               use is of a commercial nature or is for nonprofit educational
               purposes;
               (2) the nature of the copyrighted work;
               (3) the amount and substantiality of the portion used in relation to
               the copyrighted work as a whole; and
               (4) the effect of the use upon the potential market for or value of
               the copyrighted work.”

See 17 U.S.C. § 107.
59.   The inquiry concerns the transformative nature of the work. Bill Graham Archives v.

Dorling Kindersley Ltd., 448 F.3d 605, 608 (2d Cir. 2006). It also concerns whether the “use is

of a commercial nature or is for nonprofit educational purposes.” 17 U.S.C. § 107(1). “The more

transformative the new work, the less will be the significance of other factors, like

commercialism, that may weigh against a finding of fair use.” Campbell v. Acuff-Rose Music,

Inc., 510 U.S. 569, 569 (1994).

60.   The primary purpose and character of the use of Ms. Doe’s images by Defendants or their

agents is commercial in nature, specifically to drive viewership to his pages and potential

investors.

61.   The Defendants or their agents’ use of Ms. Doe’s images is not transformative and makes

no changes, alterations, or edits to the original images.

62.   The Defendants or their agents’ use of Ms. Doe’s image does not add anything new, with a

further purpose or different character, altering the first with new expression, meaning, or

message. See Bill Graham, 448 F.3d at 608 (quotation omitted); Authors Guild, 804 F.3d at 214

(“[A] transformative use is one that communicates something new and different from the original

or expands its utility, thus serving copyright's overall objective of contributing to public

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knowledge.”)

63.   Neither Defendants nor their agents’ credit or identify Ms. Doe as the author or owner of

the original images subject to this Complaint.

64.   Defendants or their agents merely use the photographs on occasion to identify Ms. Doe and

make no modification to the copyrighted material after embedding or reposting the photos.

65.   Defendants or their agents simply collect the photos and names of the model ─ they do not

provide any altered expression or meaning to the allegedly infringed work beyond that for which

it was originally created by the copyright holders. Nunez v. Caribbean Int'l News Corp., 235 F.3d

18, 23 (1st Cir. 2000) (“[B]y using the photographs in conjunction with editorial commentary, ”

the copyrighted work transformed “into news-and not the mere newsworthiness of the works

themselves.”).

66.   Based on information and belief, as a direct and proximate result of the Defendants or their

agents using her intellectual property rights without her permission, authorization, or consent,

Ms. Doe has and will continue to experience economic damages to be determined at trial.


                                     COUNT II
                            MISAPPROPRIATION OF LIKENESS
67.     The Plaintiff reasserts and realleges all preceding paragraphs as if set forth in full below.

68.    The Defendants used Ms. Doe’s name or likeness when the Defendants or their agents used

Ms. Doe’s pictures and videos to falsely represent that she was a brand ambassador or otherwise

affiliated with the company.




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69.     Ms. Doe did not consent to allowing the Defendants or their agents to use her name or

likeness, including but not limited to Ms. Doe’s name, photographs, videos and other identifying

information.

70.     The Defendants or their agents did not use Ms. Doe’s name or likeness to publicize a true

newsworthy event or a matter of public concern.

71.     The Defendants or their agents used Ms. Doe’s name or likeness to obtain a commercial

benefit for itself.

72.     The Defendants or their agents’ invasion of Ms. Doe’s privacy has caused and will cause

her to incur the following damages: attorneys’ fees; investigation costs; incidental expenses;

inconveniences; loss of income; emotional distress; impairment of quality of life; and reputational

diminishment.


                                   COUNT III
                 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

73.     The Plaintiff repeats and realleges each of the allegations in the preceding paragraphs

previously pled as if each were set forth in full herein.

74.     The Defendants or their agents engaged in extreme and outrageous conduct toward Ms.

Doe when Mr. Young, using official Elite AB Clinic social media accounts, threatened to send

Ms. Doe’s intimate pictures, affiliation with certain professional industries, and other identifying

information to far right news sources and the police to intimidate or retaliate against her for

exercising her legal rights, specifically filing DMCA take-down requests and alerting third-parties

to an ongoing scam.




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75.     The Defendants or their agents engaged in conduct recklessly or with the intent of causing

Ms. Doe severe emotional distress.

76.     Ms. Doe incurred severe emotional distress caused by the conduct of the Defendants or

their agents.


                                        COUNT IV
                                   RESPONDEAT SUPERIOR

77.     The Plaintiff repeats and realleges each of the allegations in the preceding paragraphs

previously pled as if each were set forth in full herein.

78.     Under the doctrine of respondeat superior, Defendant Elite AB Clinic is liable for the acts

of its employees or agents, the individual Defendants in this action.

79.     At all times relevant, the individual Defendants acted within the scope of their duties with

Elite AB Clinic.

80.     At all times relevant, the individual Defendants acted in furtherance of their duties to Elite

AB Clinic.

81.     At all times relevant, the individual Defendants acted with the express authorization of

Elite AB Clinic.

82.     As a direct and proximate result of the negligence, recklessness, actual malice or

willfulness of Elite AB Clinic and its agents, Ms. Doe has sustained mental, psychological,

emotional, and reputational damages. Ms. Doe has also suffered additional injuries and damages

to be proved at trial.


                                             COUNT V
                                       (Aiding and Abetting)
 83.    The Plaintiff reasserts and realleges all preceding paragraphs as if set forth in full below.
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 84.     The individual Defendants helped and encouraged each other to engage in extreme and

outrageous conduct recklessly or intentionally calculated to cause Ms. Doe severe emotional

distress.

 85.        At least one wrongful objective of the individual Defendants’ helping and encouraging

one another to engage in the herein alleged wrongful conduct was to coerce or intimidate Ms.

Doe out of fear of online harassment from “right wing sites” to not exercise her legal rights or

pursue recourse against the Defendants.

                                                COUNT VI
                                          (Permanent Injunction)
86.          The Plaintiff reasserts and realleges all preceding paragraphs as if set forth in full

below.

87.          Absent this Court’s permanent injunction, the Defendants will continue to publish Ms.

Doe’s professional images in violation of copyright law and the common law tort of invasion of

privacy by misappropriation of name or likeness.

88.          The Plaintiff will suffer irreparable harm if this Court does not grant permanent

injunctive relief that proscribes the Defendants and their agents from continuing to publish her

professional images herein alleged to be subject to her copyright or interests under the common

law tort of invasion of privacy by misappropriation of name or likeness.

89.          This Court may grant injunctive relief that proscribes the publication of copyrighted

materials as it is unlawful.

90.          A permanent injunction will not unduly harm or prejudice the Defendants.




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91.        Public policy favors granting permanent injunctive relief in this case because granting

such relief will support public policies in favor of deterring copyright and intellectual property

right violations.

                                     REQUEST FOR RELIEF

         Wherefore, Ms. Doe respectfully requests that this honorable Court enter judgment in

her favor and against Defendants on Counts I through VI above granting the following relief:

      a. Permanent injunctive relief that prohibits Defendants from engaging in the conduct

         complained of herein;

      b. Statutory damages pursuant to 17 U.S.C. § 504(c) or, in the alternative, actual damages

         based on Defendants’ earnings resulting from the alleged infringement;

      c. An award of damages in an amount to be determined at trial, but no less than

         $150,000.00 USD;

      d. An award of prejudgment and post-judgment interest, as allowed by law;

      e. An award of costs and attorney fees; and

      f. Such further relief as this Court deems just and proper.



                                          JURY DEMAND

         Ms. Doe makes a jury demand consistent with Federal Rule of Civil Procedure 38.



         Respectfully submitted this 4th day of September 2023,


                                        LAW OFFICE OF CASSANDRA M. KIRSCH, LLC

                                        /s/Cassandra M. Kirsch
                                        Cassandra M. Kirsch, # 46502
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                            Attorney for Plaintiff

                            Original Signature on File




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